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IN 'I`HE UNITED STATES DISTRICT C()URT
F()R THE N()RTHERN DISTRICT OF ILLINOIS

EASTERN DIVISI()N
Young Hee Cho )
) Case No. lS-cv-()Sl 51
Plaintiff, )
v. ) Judge Honorable Joan l-l. Leikow
l\/laru Restau.rant, lnc. and Hye Yong Choi )
) l\/Iagistrate Judge Sidney l. Schenkier
Defendants. )

FINAL .]UDGMENT ORDER IN A CIVIL CASE
This matter coming to be heard on the plaintiffs’ l\/lotion for Entry Default Judgment, due
notice having been given and the Court being advised in the premises, IT IS HEREBY
ORDERED;
Judgment is entered in favor of the plaintiff, Young Hee Cho against defendants,

Maru Restaurant, lnc. and Hye Yong Choi, jointly and severally, in the amount of
$19,694.66 plus attorney’s fees and cost, post judgment interest, and costs of colleetion.

Enter:

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ate ________ J HO_ Joan H. LekaW

United States Distxict Judge

 

